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                        UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v.
                                                           CIVIL ACTION
YALE UNIVERSITY, ANGELA GLEASON,                           No. 3:16-cv-00885-AVC
JASON KILLHEFFER, and OTHERS
UNKNOWN,
     Defendants.



          CONSENT MOTION TO FILE REPLY IN EXCESS OF PAGE LIMIT

       Now comes the Plaintiff in the above captioned case and respectfully moves this Court

for permission to file a reply to Defendants’ Opposition to Plaintiff’s Combined Motion and

Memorandum in Support of Motion to Compel Production of Improperly Withheld Documents

(ECF No. 86) in excess of the page limit set forth in Local Rule 7(d).

       Plaintiff’s reply is 12 pages in length. The extra two pages are necessary in order to

properly address an argument regarding the admissibility of certain evidence which Defendants

raised in their Opposition and which Plaintiff could not reasonably anticipate because it does not

directly relate to the issues raised in Plaintiff’s Motion to Compel.

       Defense counsel has indicated that he does not object to the granting of this motion.

       WHEREFORE, Plaintiff respectfully requests that the Court grant his motion to file a

reply that is twelve pages in length.
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                                              JACK MONTAGUE,

                                              By his attorneys,


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Dated: June 22, 2017




                               CERTIFICATE OF SERVICE

   I, Max D. Stern, hereby certify that this document filed through the ECF system will be sent
     electronically to the registered participants as identified on the Notice of Electronic Filing
                                       (NEF) on June 22, 2017.

                                                 /s/ Max D. Stern




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